      Case 19-12685-JDW          Doc 13    Filed 08/20/19 Entered 08/20/19 15:56:07               Desc Main
                                           Document     Page 1 of 3


                                UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF MISSISSIPPI


IN RE: GARY JACOBS                                                                  CHAPTER 13

DEBTOR                                                                              CASE NO. 19-12685-JDW

                        OBJECTION TO PROOF OF CLAIM FILED BY
              FIRST METROPOLITAN FINANCIAL SERVICES, INC. [CLAIM NO. 13-1]

       COMES NOW, the above-named Debtor, by and through his attorney of record in this case, and objects

to the Proof of Claim filed by World Acceptance Corporation (“Creditor”), and in support hereof respectfully

shows unto the Court the following:

       1.      Creditor filed a proof of claim (Clm. # 13-1) as a secured creditor in the amount of $2,323.90.

       2.      The Debtor does not dispute the debt is owed, but the claim includes a UCC filing statement that

is not perfected or enforceable against the Debtor or his property. Therefore, the claim should be treated as

unsecured.

       4.      Other grounds to be shown at the hearing.

       WHEREFORE, the Debtor respectfully requests that this Court sustain the objection and enter an order

directing the proof of claim (Clm. #13-1) be treated as a general unsecured claim in this case.

               This the 20th day of August, 2019.

                                      /s/Robert Lomenick
                                      KAREN B. SCHNELLER, MSB 6558
                                      ROBERT H. LOMENICK, JR., MSB 104186
                                      SCHNELLER & LOMENICK, P.A.
                                      126 NORTH SPRING STREET
                                      POST OFFICE BOX 417
                                      HOLLY SPRINGS, MS 38635
                                      662-252-3224/karen.schneller@gmail.com
      Case 19-12685-JDW          Doc 13    Filed 08/20/19 Entered 08/20/19 15:56:07            Desc Main
                                           Document     Page 2 of 3


                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT MISSISSIPPI


IN RE: GARY JACOBS                                                                         CHAPTER 13

DEBTOR                                                                                     CASE NO. 19-12685


                                   NOTICE OF OBJECTION TO CLAIM

       YOU ARE HEREBY NOTIFIED that an objection to your claim has been filed in the above

referenced bankruptcy case. Your claim may be reduced, modified, or eliminated. If you do not want the Court

to eliminate or change your claim, a written response to the attached objection to claim must be filed with:

Clerk, U.S. Bankruptcy Court
Northern District of Mississippi
703 Hwy 145 North
Aberdeen, MS 39730

and a copy must be served on the undersigned Debtor(s)’ attorney and the Chapter 13 trustee on or before thirty

(30) days from the date of this notice. In the event a written response is filed, the court will notify you of the

date, time and place of the hearing thereon.

DATED: August 20, 2019

CHAPTER 13 STANDING TRUSTEE:
Ms. Locke D. Barkley
Chapter 13 Trustee
6360 I-55 North, Suite 140
Jackson, MS 39211
                           /s/Robert H. Lomenick
                           KAREN B. SCHNELLER, MSB 6558
                           ROBERT H. LOMENICK, JR., MSB 104186
                           SCHNELLER & LOMENICK, P.A.
                           126 NORTH SPRING STREET
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                                          Document     Page 3 of 3


                                         CERTIFICATE OF SERVICE

          I, Karen B. Schneller/Robert H. Lomenick, attorney for the Debtor, hereby certify that a copy of the
foregoing Notice of Objection to Claim and Objection to Claim has this day been served upon the Chapter 13
Trustee, the U.S. Trustee and Mississippi Department of Revenue, either by electronic means or by United
States Mail.

World Acceptance Corporation
Attn: Bankruptcy Processing Center
P.O. Box 6429
Greenville, SC 29606

Ms. Locke D. Barkley, via ECF

Office of U.S. Trustee, via ECF

         This, the 20th day of August, 2019

                                              /s/Robert H. Lomenick
                                              KAREN B. SCHNELLER
                                              ROBERT H. LOMENICK
